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DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in

Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are
also provided in Section 16.

(A) “Security Instrument" means this document, which is dated July 31, 2666
together with aif Riders to this document.

{B) “Borrower” Is KEITH B. STEVENS and MELISSIA L. STEVENS, HUSBAND AND WIFE

Borrower Is the trustor under this Security Instrument.
(C) “Lender” is FIRST SAVINGS MORTGAGE CORPORATION, A VIRGINIA CORPORATION

Lender Isa A VIRGINIA CORPORATION
organized and existing under the Jaws of THE STATE OF VIRGINIA

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Lender's address is 8444 WESTPARK DRIVE, 47H FLOOR, MCLEAN, VA 22102
(D) "Trustee" is Larry F, Pratt of Fairfax County, Virginia,

{E) “MERS" is Mortgage Electronic Registration Systems, inc. MERS is a separate corporation that is
acting solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficiary
under this Security Instrument. MERS is organized and existing under the laws of Delaware, and has an
address and telephone number of P.O, Box 2026, Flint, MI 48501-2028, tel. (888) 672-MERS.
{F) “Note” means the promissory note signed by Borrower and dated July 31, 2006
‘The Note states that Borrower owes Lender Ten Thousand and no/100

: . Dollars
(U.S. $10,000.00 } plus interest. Borrower has promised to pay this debt In regular Periodic
Payments and to pay the debt in full not later than August 1, 2021 .
{G) “Property” means the property that Is described below under the heading "Transfer of Rights In the
Property."
(H} “Loan” means the debt evidenced by the Note, pius interest, any prepayment charges and fate charges
due under the Note, and all sums due under this Security Instrument. plus interest.
(1) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower [check box as applicable]:

P Adjustable Rate Rider [™] Condominium Rider [7] Second Home Rider
L_] Balloon Rider Planned Unit Development Rider _] 1-4 Family Rider
VA Rider Biweekly Payment Rider E] Otherts) {specify}

(J) “Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicabie Final,
non-anpealable judicial opinions.

(KX) "Community Assoclation Dues, Fees, and Assessments” means ail dues, fees, assessments and other
charges that are Imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization. .

(L) "Electronic Funds Transfer” means any wansfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is Initiated through an electronic terminal, telephonic
instrument, computer, or magnatic tape so as to order, Instruct, or authorize a financial institution to debit
or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
machine transactions, transfers initiated by telephone, wire ‘transfers, and automated clearinghouse
transfers.

{Mi} "Escrow [terns" means those items that are described in Section 3.

{N) ’Misceflaneous Proceeds" means eny compensation, settlement, award of damages, or proceeds pald
by any third party (other than insurance proceeds patd under the coverages described in Section §) for: {i}
damage to, or destruction of, the Property: fii} condemnation or other taking of all or any part of the
Preperty; {ill} conveyance in Heu of condemnation; or (iv) misrepresentations of, or omissions as to, the
value and/or condition of the Property.

(O} "Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default on,
the Loan.

{P) "Perladic Payment” means the regularly scheduled amount due for (i} principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument. a

{Q) "RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C, Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500}, as they might be amended from the ta

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time, or any eddltlonat or successor legislation or regtilation thet governs the same subject matter. As used
in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard
to a “federally related mortgage lean” even if the Loan does not qualify 2s a “federally related_mortgage
toan” under RESPA.

{R) “Successor In Interest of Borrower" means any party that fas taken title to the Property, whether or
not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security instrument is MERS {solely as nominee for Lender and
Lender's successors and assigns} and the successors and assigns of MERS. This Security
instrument secures to Lender: (i) the repayment of the Loan, and alt renewals, extensions and
modifications of the Note: and {i} the performance of Borrowers covenants and agreements
under this Security Instrument and the Note. For this purpose, Borrower irrevocably grants and
conveys to Trustee, In trust, with power of sale, the following described property located In the
“COUNTY of BALTIMGRE :
FFype of Recording Jurisdiction} [Name of Recording Jurisdiction?
BALTIMORE COUNTY TAX DISTRICT 11 ACCOUNT NUMBER 2400004863: MAP 72, GRID
18, PARCEL 61, CA.K.A.) LOT 87. AS SHOWN ON RECGRDED SUBDIVISION PLAT
ENTITLED “FINAL PLAT THO, FIELDS AT PERRY HALL” AS RECORDED TW PLAT LISER
75 AT FOLIO 135: WITH A PREMISE ADDRESS OF 10814 CATRON ROAD, PERRY HALL,
MB 21128.

Parcel 1D Number: which currently has the address of
10814 CATRON RGAD * [Street]
PERRY HALL icayl, Maryland 21128 [dip Code}

("Property Address”):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenences, and fixtures now or hereafter a part of the property. All replacements and
additions shall alse be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the "Property." Borrower understands and agrees that MERS holds only Segal title
te the interests granted by Borrower in this Security Instrument, but, if necessary to comply with law or
custom, MERS (as nominee for Lender and Lender's successors and assigns) has the right: to exercise any
or afl of those interests, including, but not fimited to, the right to foreciose and sell the Property: and to
take any action required of Lender including, but not limited to, releasing and canceling this Security
instrument.

BORROWER COVENANTS that Borrower fs lawfully selsed of the estate hereby conveyed and has
the right to grant and convey the Property and that the Property Is unencumbered, except for encumbrances

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of record, Borrower warrants and will defend generally the tive to the Property against al! claims and
demands, subject to any encumbrances of record,

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, (nterest, Escrew tems, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and fate charges due under the Note. Borrower shail also pay funds for Escrow items
pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
currency. However, if any check or other instrument recelved by Lender as payment under the Note or Luis
Security Instrument is returned to Lender unpale, Lender may require that any or ail subsequent payments
due under the Note and this Security instrument be made in one or more of the following forms, as salected
by Lender: {a} cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,

rovided any such check fs drawn upon an instihaion whose deposits are Insured by 2 federal agency,
instrumentality, or entity; or (4) Eiectronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15,
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Lon
current, without waiver of any rights hereunder or prejudice to Hts rights to refirse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted, If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
interest on unappiied funds, Lender may hold such unapplied funds until Borrower makes payment to bring

‘the Loan current, if Borrower does not do so within a reasonable perlod of time, Lender shall elther apply

such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
principal balance under the Nete immediately prior to foreclosure. No offset or claim which Borrower

might have now or in the future against Lender shall relieve Borrower from making payments due under

the Note and this Security Instrument or performing the covenants and agreements secured by this Security
nstrument,

2. Apoplication of Payments or Proceeds. Except as otherwise described in this Section 2, al!
payments accepted and applied by Lender shall be applied in the following order of pricrity: fa) interest
due under the Note; (b) principal due under the Note; {c} amounts due under Section 3, Such payments
shall be applied te each Periodic Payment In the order in which it became due, Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security instrument, and
then to reduce the principal balance of the Note.

If Lender recelves a payment from Borrower for a delinquent Periodic Payment which Includes a
sufficient arriount to pay any tate charge due, the payment may be applied to the delinquent payment and
the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received
from Borrewer to the repayment of the Perlodic Payments If, and to the extent that, each payment can be
paid in full. ‘To the extent that any excess exists efter the payment is applied to the full payment of one or
more Periodic Payments, such excess may be applied to any late charges due, Voluntary prepayments shall
be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shail not extend or postpone the due date, or change the amount, of the Periodic Payments.

3, Funds fer Escrow items, Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is pald In full, a sum (the “Funds") to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as a
lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
premiums for any and all insurance required by Lender under Section 5; and (a} Mortgage Insurance
premiums, if any, oF any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance prexdums in accordance with the provisions of Section 10, These ltems are called "Escrow
Items." At origination or at any time during the term of the Loan, Lender may require that Commumity
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow tem. Borrower shall promptly furnish to Lender all notices of amounts to
be paid under this Section. Borrower shal! pay Lender the Funds for Eserow lterns unless Lender waives
Borrower's obligation to pay the Funds for any or aff Escrow ltams. Lender may waive Borrower's

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obligation to pay ta Lender Funds for any or ali Escrow Items at any time, Any such waiver may only be
in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such tre period as Lender may require.
Borrower’s obligation to make such payments and to provide receipts shall for all purposes be deemed to
be a covenant-and agreement contained In this Security Instrument, as the phrase “covenant and agreement”
is used in Section 9. If Borrower is obligated to pay Escrow items directly, pursuant to a waiver, and
Bosrower falls to pay the amount due for an Escrow item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section @ to repay to Lender any such
amount. Lender may revoke the waiver as ic any or all Escrow Items et any time by a notice given in
accordance with Section 16 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
such amounts, that are then required under this Section 3,

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and-(b) not w exceed the maximum amount ¢ lender can
require under RESPA, Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Hers or otherwise in accordance with Applicable
Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency.
instrumentality, of entity {inclading Lender, if Lender is an institution whose deposits are so insured) or in
any Federal Hame Loan Bank. Lender shalt apply the Funds to pay the Escrow hems no later than the time
specified under RESPA, Lender shail not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow items, unless Lender pays Borrower Interest on the
Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
any interest or earnings on the Funds. Borrower and Lender can agree In writing, however, that interest
shall be pald on the Funds. Lender shail give to Borrower, without charge, an annual accounting of the
Funds as required by RESPA.

Hf there is a surplus of Funds heid in escrow, as defined under RESPA, Lender shall account to
Botrower for the excess funds in accordance with RESPA. If there is s shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shali pay to
Lender the amount necessary to make up the shortage In accordance with RESPA, but in no more than 12
rronthly payments. If there {5 a deficiency of Funds held In escrow, as defined under RESPA, Lender shall
notify Berrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the defictency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of aif sums secured by this Secury Instrument, Lender shall promptly refund
to Borrower any Funds held-by Lerider.

4, Charges; Liens, Berrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attaln priority over this Securlty Instrument, leasehold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, If any. Te
the extent that these Items are Escrow Items, Borrower shall pay them in the manner provided In Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: {a} agrees in writing te the payment of the obligation secured by the Hen ina manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien In, legal proceedings which in Lender's opinion operate to
prevent the enforcement of the lien white those proceedings are pending. but only until such proceedings
are concluded; or (c} secures front the holder of the {fen ant agreement satisfactory to Lender subordinating
the Ilen to this Security Instrument, If Lender determines that any part of the Property is subject to a lien
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying te

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lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the Hen or take one or
more of the actions set forth above in this Section 4.

Lender may require Berrower to pay a one-time charge for 2 real estate tax verlfication and/or
reporting service used by Lender In connection with this Loan.

§, Preperty Insurance, Borrower shell keep the improvements now existing or hereafter erected on
the Property insured against loss by fire, hazards included within the term “eytended coverage,” and any
other hazards Including, but not limited to, earthquakes and floods, for whieh Lender requires insurance.
This insurance shall be maintained In the amounts {including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
the Loan. The Insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shall not be exercised unreasonably, Lender may
require Berrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
determination, certification and tracking services; or (6) 2 one-time charge for flood zone determination
and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification, Borrower shall also be responsible for the
payment of any fees Imposed by the Federal Emergency Management Agency in connection with the
review of any flood zone determination resulting from an objection by Borrower.

if Borrower falls to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower's equity in the Property, or the conterts of the Property, against any risk,
hazard or Nabllity and might provide greater or lesser coverage than was previously In effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Sorrower could have obtained, Any amounts dishursed by Lender under this Section § shail
become additional debt of Borrower secured by this Security Instrument, These amounts shall bear interest
at the Note rate from the date of disbursement and shall be payable, with such Interest, upon notice from
Lender to Borrower requesting payment,

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
right to disapprove such policies, shall include a standard mortgage clause, and shall mame Lender as
mortgagee arid/or as an additional toss payee. Lender shail have the right to hold the policies and renewal
certificates. If Lender requires, Borrower shail- promptly give to Lender ail receipts of paid premiums and
renewal notices, if Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for darnage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional toss payee.

in the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made promptly by Borrower. Unfess Lender and Borrewer otherwise agree
in writing, any Insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened. During such repalr and restoration perlod, Lender shall have the right to
hold such insurance proceeds untl! Lender has had an opportunity te inspect such Property to ensure the
work has been completed to Lender's satisfaction, provided that such Inspection shall be undertaken
promptly, Lender may disburse proceeds for the repairs and restoration in a single payment or in a Series
of progress payments as the work is completed. Untess an agreement. is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
Interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the Insurance proceeds end shail be the sole obligation of Borrower. If
the restoration or repair is not economically feasible or Lender’s security would be lessened, the insurance
proceeds shall be applied to the sums secured by this Securlty Instrument, whether or not then due, with

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the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Section 2.

}f Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
clalm and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice is given. in either event, or If Lender acquires the Property under
Section 22 of otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts urpald under the Note or this Security Instrument, and
ib) any other of Borrower's rights (other than the right to any reftind of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage of the Property. Lender may use the insurence proceeds elther to repair or restore the Property or
to pay amounts unpaid under the Note or this Securlty Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Security Instrument and shell continue to occupy the
Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyord Borrower's control,

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allew the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shail maintain the Property In
order to prevent the Property from detertorating er decreasing In value due to Hts condition. Uniess it Is
determined pursuant to Section 5 that repair or restoration Is not economicaily feasible, Borrower shail
promptly repair the Property if damaged to avold further deterioration or damage. Jf Insurance or
condemnation proceeds are paki in connection with damage to, or the taking of, the Property, Borrower
stall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs end restoration in a single payment or fn a series of
progress payments as the work is completed, !f the insurance or condemnation proceeds are not sufficient
te repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of
such repair or restoration.

Lender or its agent may make reasonable entries upon and Inspections of the Property. If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
{or failed to provide Lender with material information) in conection with the Loan. Material
representations include, but are nat limited to, representations concerning Borrower's occupancy of the
Property as Borrower's principal residence.

9. Protection of Lender’s interest in the Property and Rights Under this Security Instrument. IF
{a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
anforcement of a len which may attain priority over this Security Instrument or to enforce laws or
regulations), or {c} Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a ten
which has priority over this Security Instrument; (b} appearing in court; and (¢) paying reasonable

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attornays’ fees to protect its interest in the Property and/or rights under this Security Instrument, including
its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate buliding or other code violations or dangerous conditions, and have utilities turned
on or off. Although Lender may take action under this Section 9, Lender does not have to do 80 and is not
under any duty or obtigation to do so. It is agreed that Lender incurs no Ilablity for not taking any or all
actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security instrument. These amounts shall bear Interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
payment,

If this Security frstrurment is on a leasehold, Borrower shalt comply with all the previsions of the
lease, If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
Lender agrees to the merger In writing.

10, Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. if, for any reason,
the Mortgage Insurance coverage required by Lender ceases to.be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrewer shall pay the premiums required to obtain
coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
equivalent to the cost 10 Borrower of the Mortgage Insurance previously in effect, from art alternate
mortgage insurer selected by Lender, #f substantially equivalent Mortgage Insurance coverage is not
available, Borrower shail continue to pay to Lender the amount of the separately designated payments that
were due when the Insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as. a non-refundable loss reserve in. leu of Mortgage Insurance. Such loss reserve shall be
non-refundable, notwithstanding the fact that the Lean Is ultimately paid in full, and Lender shall not be
required to pay Borrower any interest or earnings on such toss reserve. Lender can no longer require ioss

’ reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
- separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
insurance as @ condition of making the Loan and Borrower was required to make separately designated
yments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
maintain Mortgage Insurance In effect, or to provide a non-refundable loss reserve, until Lender’s
requirement for Mortgage insurance ends in accordarice with any written agreement between Borrower and
Lander providing for such termination or until termination s required by Applicable Law. Nothing In this
Section 10 affects Borrower's obtigation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender {or any entity that purchases the Note) for certain fosses it
may incur if Borrower does not repay the Loan as agreed. Borrower |s not a party to the Mortgage
Insurance.

Mortgage insurers evaluate their total risk on al) such insurance in force From time to time, and may
enter into agreements with other partles that share or modify their risk, or reduce losses. These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
these agreemenis, These agreaments may require the mortgage Insurer to make payments using any source
of funds that the mortgage insurer may have available (which may Include funds obtained from Mortgage
Insurance premlums). .

As a result of these agreements, Lender, any purchaser of the Note, another Insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from {or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer's risk, or reducing josses. If such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed "captive reinsurance." Further:

{a} Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amourt
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

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(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage insurance under the Homeowners Protection Act of 1888 or any other law. These rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or
termination,

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to ‘and shall be paid to Lender,

IF the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
During such repalr and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
untif Lender has had an opportunity to inspect such Property to ensure the work has been completed to
Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as the work Is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower any Interest or earnings on such
Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would
be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the exeess, if any, pald to Borrower, Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shail be applied te the sums secured by this Security Instrument, whether or act then due, with
the excess, if any, paid to Borrower.

in the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Preperty immediately before the partial taking, destruction, or loss in value is equal to oF
greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or foss in value, unless Borrower and Lender otherwise agree In writing, the sums
secured by this Security Instrument shall be reduced by the amount of the Miscetlaneaus Proceeds
multipiled by the following fraction; (a) the total amount of the sums secured immediately before the
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, dastruction, or loss in valee. Any balance shall be paid to Borrower,

in the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property Immediately before the partial taking, destruction, or foss In vatue is fess than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, uniess
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
secured by this Security instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party fas defined in the next sentence) offers to make an award to settle a claim for damages,
Borrower faits ta respond to Lender within 30 days after the date the notice is given, Lender is authorized
to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
sums secured by this Security Instrument, whether or not then due. "Opposing Party" means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of actlon in
regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding. whether civil or criminal, is begun that, in
Lerver’s judgment, could result in forfeiture of the Property or other material impairment of Lender's
interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 18, by causing the action or proceeding to be
dismissed with a ruling that, In Lender's judgment, preciudes forfeiture of the Property or other material
impairment of Lender's interest In the Property or rights under this Security Instrument. The proceeds of
any award or-claim for damages that are attributable to the Impairment of Lender's Interest in the Property
are hereby assigned and shall be paid to Lender,

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for In Section 2.

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STATE OF MARYLAND, Batimdre. County ss: ;
| Hereby Certify, That on this A, day of duly esto , before me, the subscriber, a
Notary Public of the State of Maryland, in and for the '

personally appeared KEITH B. STEVENS and MELISSIA L. STEVENS

AS WITNESS: my hand and notarial seat.

My Commission Expires: Who
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Chnistopher M. Stser
Saitinme County, Mrpdare
My Commission: Expites.
Winmesnbier 24, 2005"

STATE OF T¥Yvarvulend _. MDT THB OWA County ss
1 Hereby Certify, That on this Zi day of uk 206, fore me, the subscriber,

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a Notary Public of the State of Mayra pland for the}. :
personaily appeared Hote. iss County w md

the agent of the party secured by the foregeing Deed of Trust, and made 02
consideration recited In sald Deed of Trust Is (rue and bena fide as therelp |
of money advanced at the closing transa by the secured party was pa er and disbursed by the party
or parties secured by the Deed of Trusi‘to the Borrower or to the persbn- responsible for disbursement of
funds in: the closing transaction or thelr respective agent at a time not later {hapthe execution and delivery
by the Borrower of this Deed of Trust; and dlso made cath he isthe Agent of the party or parties
secured and is duly authorized to make this afggdapilt. 41
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AS WITNESS: my hand and notariat
Notary Public ™ \_)

   
    
    
 

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My Commisston Expires:

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This is to certify that the within instrument was prepared

RACHEL COLLIER

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PLANNED UNIT DEVELOPMENT RIDER
LOAN #: 81806099
THIS PLANNED UNIT DEVELOPMENT RIDER is made this a1st day of
duly 2006 , and is incorporated Into and shail be
deemed te amend and supplement the Mortgage, Deed of Trust, or Security Deed {the
"Security Instrument”) of the same date, given by the undersigned (the "Borrower") to
secure Borrower's Note to
FIRST SAVINGS MORTGAGE CORPORATION, A VIRGINIA CORPORATION

(the "Lender") of the same date and covering the Property described in the Security
Instrument and located at: ‘
10814 CATRON ROAD /PERRY HALL.MD 21128

[Property Address]
The Property includes, but is not limited to, a parcel of land improved with a dwelling,
together with other such parcels and certain common areas and facilities, as described in
AS PER MASTER DEED OF DEDICATION

{the "Declaration"). The Property is a part of a planned unit development known as
FIELDS AT PERRY HALL

[Name of Planned Unit Development]
{the "PUD"), The Property also includes Borrower's interest in the homeowners association or
equivalent entity owning or managing the common areas end facilities of the PUD (the
“Owners Association") and the uses, benefits and proceeds of Borrower's interest.

PUD COVENANTS, in addition to the covenants and agreements made in the Security
instrument, Borrower and Lender further covenant and agree as follows:

A, PUD Obligations. Borrower shall perform al of Borrower's obligations under the PUD's
Constituent Documents. The "Constituent Documents” are the {i} Declaration; (ii) articles of
incorporation, trust instrument or any equivalent decument which creates the Owners
Association; and (i} any by-laws or other rules or reguiations of the Owners Association.
Borrower shall promptly pay, when due, all dues and assessments Imposed pursuant to the
Constituent Documents.

MULTISTATE PUD RIDER - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT —
Form 3150 1/01
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GS-7 {0405} VMP Mortgage Solutions, Inc, (800)521-7291

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B. Property Insurance. So long as the Owners Association maintains, with a generally
accepted insurance carrier, a “master” or “blanket” pollcy insuring the Property which is
satisfactory to Lender and which provides insurance coverage in the amounts (Inchuding
deductible levels), for the periods, and against foss by fire, hazards included within the term
“extended coverage," and any other hazards, including, but not limited to, earthquakes and
floods, for which Lender requires Insurance, then: () Lender waives the provision in Section 3
for the Perlodie Payment to Lender of the yearly premium Installments for property insurance
an the Property: and {il} Borrower's obligation under Section 5 to maintain property insurance
coverage on the Property is deemed satisfied to the extent that the required coverage Is
provided by the Owners Association policy.

What Lender requires as a condition of this waiver can change during the term of the
loan. .

Borrower shall give Lender prompt notice of any lapse In required property insurance
coverage provided by the master or blanket policy.

in the event of @ distribution of property insurance proceeds In lieu of restoration or
repair followlng a’ loss to the Property, or to common areas and facilities of the PUD, any
proceeds payable to Borrower are hereby assigned and shall be paid to Lender. Lender shall
apply the proceeds to the sums secured by the Security Instrument, whether or not then due,
with the excess, if any, pald to Borrower.

C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to
insure that the Owners Association maintains a public liability Insurance policy acceptable in
form, amount, and extent of coverage to Lender.

D. Condemnation. The proceeds of any awerd er claim for damages, direct or
consequential, payable to Borrower In connection with any condemnation or other taking of all
or any part of the Property or the common areas and facilities of the PUD, or for any
conveyance In lieu of condemnation, are hereby assigned and shalt be pald to Lender, Such
proceeds shail be applied by Lender to the sums secured by the Security instrument as
provided In Section 11.

£, Lender's Prior Consent. Borrower shall not, except after notice to Lender and with
Lender's prior written consent, either partition or subdivide the Praperty or consent to: (i) the
abandonment or termination of the PUD, except for abandonment or termination required by
law In the case of substantial destruction by fire or other casualty or In the case of 2 taking
by condemnation or eminent domain; (i) any amendment to any provision of the "Constituent
Documents” if the provision is for the express benefit of Lender; {iff} termination of
professional management and assumption of self-management of the Owners Association; or
fiv) any actlon which would have the effect of rendering the public liability Insurance coverage
maintained by the Owners Association unacceptabie to Lender.

F. Remedies, Hf Borrower does nat pay PUD dues and assessments when due, then
Lender may pay them. Any amounts disbursed by Lender under this paragraph F shall become
additional debt of Borrower secured by the Security Instrument, Unless Borrower and Lender
agree to other terms of payment, these amounts shall bear interest from the date of
disbursement at the Note rate and shall be payable, with interest, upon notice from Lender to

Borrower requesting payment,
initials YY L$

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in
this PUD Rider.

Haame Ziti, (Seal) Fpalniea 1 AL ar (Seal)

 

 

 

 

 

 

KEITH B. STEVENS -Borrower MELISSIA L. STEVENS -Borrower
(Seal) (Seal)

-Borrower -Borrower

{Seal} : (Seal}

Borrower -Borrower

(Seal) (Seat)

-Borrower -Borrower

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